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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
                                              )
              v.                              )       No. 22-cr-15 (APM)-7
                                              )
       JOSEPH HACKETT,                        )
                                              )
                      Defendant.              )
                                              )

                                             ORDER

       AND NOW, this _____ day of ________________, 2022, upon consideration of

Defendant’s Motion to Modify Conditions of Pretrial Release, it is hereby ORDERED that the

motion is GRANTED. The defendant’s conditions of pretrial release shall be modified as

follows:

       1) Mr. Hackett is permitted to travel between the Middle District of Florida and the

           Eastern District of Virginia, beginning December 2, 2022;

       2) Mr. Hackett is also permitted to travel between the Eastern District of Virginia and

           the District of Columbia during his trial; he is further permitted to stay in

           Chesapeake, Virginia when court is not in session.

       All other conditions of Pretrial Release shall remain the same.




                                              _____________________________
                                              The Honorable Amit P. Mehta
                                              United States District Court Judge
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
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                 v.                           )       No. 22-cr-15 (APM)-7
                                              )
       JOSEPH HACKETT,                        )
                                              )
                       Defendant.             )
                                              )

                 JOSEPH HACKETT’S UNOPPOSED MOTION TO MODIFY
                        CONDITIONS OF PRETRIAL RELEASE

       Defendant, Joseph Hackett, by and through his undersigned counsel, Angela Halim, Esq.,

hereby respectfully requests the Court grant his motion and modify conditions of pretrial release

so that Mr. Hackett can travel from his residence in Florida to the District of Columbia for trial,

currently scheduled to begin December 5, 2022. In support thereof, Mr. Hackett avers as

follows.

       1) On August 23, 2021, the Court entered an Order Setting Conditions of Release, ECF

           362, 21-cr-28. The Court ordered, among other special conditions, that Mr. Hackett’s

           travel is restricted to the Middle District of Florida, the District of Columbia, and the

           Eastern District of Pennsylvania (for attorney visits). Additionally, Mr. Hackett is

           subject to home incarceration and location monitoring. See ECF 362, Crim. No. 1-cr-

           28,

       2) Mr. Hackett’s trial is scheduled to begin Monday, December 5, 2022. Mr. Hackett’s

           mother and father-in-law reside in Chesapeake, VA, an approximately three-hour

           drive to the federal courthouse in Washington, D.C. Mr. Hackett and his wife plan to



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   drive from their residence in Florida to Chesapeake, VA on Friday December 2, 2022.

   Mr. Hackett, through counsel, has provided the government and Pretrial Services with

   the address and contact information for Mr. Hackett’s mother and father-in-law.

3) Mr. Hackett plans to stay in a hotel in or around the D.C. area Monday through

   Friday when Court is in session. He seeks permission to travel between the D.C. area

   and his in-laws’ home in Chesapeake, VA on the weekends.

4) Pretrial Services Officer Kadi Murray (M.D.Fl.) advised by email dated October 27,

   2022, that she has “no concern” about Mr. Hackett’s travel plans during trial and he

   has remained “totally compliant with his conditions of release thus far.” The

   government advised that it defers to Pretrial Services.

5) For all the reasons set forth above, Mr. Hackett respectfully requests the Court enter

   the attached proposed Order to allow travel as outlined herein in connection with his

   trial scheduled to begin December 5, 2022.



                                             Respectfully submitted,



                                             ______/s/ Angela Halim__________
                                             Angela Halim, Esq.,
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                                             Philadelphia, PA 19129
                                             (215) 300-3229
                                             angiehalim@gmail.com




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
Court using CM/ECF. I also certify that the foregoing is being served this day on all counsel of
record, via transmission of Notices of Electronic Filing generated by CM/ECF.




                                                             ______/s/ Angela Halim ________
                                                             Angela Halim, Esq.

Dated: November 1, 2022




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